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                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS


            AFFIDAVIT OF OWNERSHIP OF SECURITY FOR CIVIL BOND


  Case Number:          ,
                              \6> c,\) L
  Party for whom bond posted:            \/\launp.
  I swear (or affirm) that I am the owner or agent of owner of the $ cash
  deposited as security on the bond posted for the party in the above styled and numbered case. I
  acknowledge that the bond is subject to forfeiture if the party violates the terms and conditions set by the
  Court. I understand that as owner/ agent of owner it is my responsibility to equest the return of the cash
  security after the conditions of the bond have been met.


                                                                                                2'   - (=>7 £> -7 / -

  Date                                                 Na e of Owner of cash security - Printed



                                                       Name of Agent of Owner (if any) - Printed


                                                       Sign ture of depositor (Owner or Agent of Owner)

                                                                                            Ifni
                                                       Add ess

                                                       Fqif igi , lems IWM
                                                       City/State/Zip


  Signed and sworn to (o affirmed) before me this day of_ h JL. , 20

                                                       DAVID O'TOOLE, CLERK. OF COURT


                                                       By:        I (Alf L, / X
                                                               Signature of Deputy Clerk

  Recei t No: j )( (&(


 Clerk: Please obtain copy of pictu e ID from individual posting bond.
